Case 5:20-cv-00086-H         Document 27        Filed 03/12/25       Page 1 of 37      PageID 2799


                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

  DESIRAE MONIQUE MATA,

                                  Petitioner,

                                                                 No. 5:20-CV-00086-H
                                                                  (Consolidated with
  DIRECTOR, TDCJ-CID,                                            No. 5:21-CV-00198-H)

                                Respondent.

                                     OPINIONAND ORDER

        Petitioner Destae Monique Mata, a state prisoner proceeding with the assistance of

 counsel, filed a petition for writ of habeas corpus under 28 U.S.C. 5 2254, challengngher

 capitai murder conviction and life sentence out of Gaines County. D}:t. Nos . 1, 10. She asserts

 that she was convicted on the false testimony of a jailhouse informant, which was aided by

 prosecutorial misconduc and that she received ineffective assistance of counsel at trial. She also

 alleges that the state habeas court failed to substantively review her claims in violation ofdue

 process. She seeks a new trial. Respondent frled an answer with copies of Petitioner's relevant

 state-court records. Dkt. Nos. 15, 21. Respondent argues that Petitioner's state-process claim is

 not cognizable and that she failed to otherwise meet her burden for reliefunder Section 2254.

 Dkt. No. 21. Petitioner replied. Dkt. No. 26. As explained below, the Court finds that

 Petitioner is not entitled to federal habeas relief. Her claim that the state habeas court failed to

 substantively review her claims is contradicted by the record, and in any event, not cognizable

 under Section 2254. And the state couft's summary denial of her claims is entitled to substantial

 deference. The record here provides a reasonable basis to support the state court's rejection of

 Petitioner's claims-that the false testimony and withheld evidence were arguably immaterial.
Case 5:20-cv-00086-H        Document 27       Filed 03/12/25       Page 2 of 37      PageID 2800


         To be sure, the prosecution should have disclosed evidence related to a witness's

 oedibiliry, but the record as a whole amply supports the state court's denial of her claim. The

 evidence at Petitioner's trial included the testimony of a jailhouse informant, Angie Brown, who

 maintained that Petitioner shared details of the crime with her while they were detained in the

 same cellblock. Brown and her lawyer both averred that Brown was testirying freely and did not

 expect anything in retum. In reality, Brown and her lawyer had repeatedly written to the

 prosecutor asking him to assist Brown in gening a sentence reduction in exchange for her help.

 The prosecutor did not disclose these letters to the defense, nor did he corect the misleading

 testimony. There is no question that the undisclosed letters contained useful impeachment

 evidence, but the combination ofother impeachment evidence against Brown and independent

 evidence of Petitioner's guilt make clear that the Texas Court of Criminal Appeals (TCCA)

 could reasonably conclude that the letters were immaterial. The jury heard evidence that other

 agents of the State-the Texas Rangers-promised to help Brown, and a defense witness

 contradicted Brown's statement and testified that Brown was known for gathering ilformation

 to try to get a deal for herself. And, because Brown was not the sole-or even the star-witness

 who connected Petitioner to the murders, her reliability was not necessarily determinative of

 Petitioner's guiJt or innocence.

        Additionally, her counsel's failure to investigate an altemative suspect, who was later

 identifred by her codefendant's trial team, was not constitutionally deficient based on the

 information available to Petitioner's counsel before her trial. And although counsel admitted

 that he ened in failing to request a mandatory jury instrucion, that error did not prejudice

 Petitioner.

        In short, Petitioner has failed to overcome the diffrcult, deferential standard of 28 U.S.C.

 g 2254(d). Thus, the petition is denied and dismissed with prejudice.




                                                 2
Case 5:20-cv-00086-H          Document 27         Filed 03/12/25        Page 3 of 37     PageID 2801


 l.       Backgromd

          Petitioner challenges her state-court capital murder conviction and life sentence out of

 the l06th District Court of Gaines County, Texas. In cause number 14486, styled State of

 Texas v. Desirae Monique Mata, Petitioner was charged by indictment with two counts of capital


 murder for her role in the deaths ofJohn Allen and Jay Doyal. Dkt. No. 15-13 at 10-11.

 Petitioner pled not guilry, but a jury found her guilty as charged in the indictment. Id. at 32+

 27   . The State did not seek the death penalty, and the trial court imposed mandatory sentences
 of life imprisonment without the possibility of parole. Dkt. No. 15-13 at 324.

          A,      Facts

          Petitioner's counsel aptly summarized this case in her appellate briefing. "This case is

 about a clique of individuals (mostly criminals) and the consequences of their lifestyles." Saa

 Dkt. No. l5-3 at2; Dkt. No. 15-5 at2. Petitioner had a child with a drug dealer named Roiand

 Canru, nicknamed "Rollie." Dkt. No. 15-3 at 5. One of Rollie's customers stole three diamond

 rings and traded them to Rollie in exchange for drugs. /d. Petitioner liked one of the rings in

 particular and began to refer to it as "my diamond." 1d But "[m]uch to [Petitioner's] appaent

 consternation, Rollie asked a friend, John Allen . . . to sell all the rings. " .Id.

          Allen "was a fence for stolen goods as well as a drug user," and he "believed that the

 rings were'worth a whole lot of money."' Id. Later, Rollie wrote to Allen from prison and

 "instructed him to sell the rings and give [Petitioner] ' 10 g's each' and to take the rest and 'live it

 up homie, its all good."' Id. Allen and a friend went to New York City and fenced the

 diamonds there, reportedly for $80,000. Id They bought a used Maserati for $20,000 and drove

 it back to Seminole. Id. at 5-6. After Allen retumed to Seminole, Petitioner moved in with

 him for a month or two. Id. at 6. Rumors spread that Allen had "gotten a good bit of money,

 and people began to steal from him." He "became extremely paranoid[,] . . . carried a pistol,



                                                     3
Case 5:20-cv-00086-H          Document 27        Filed 03/12/25        Page 4 of 37       PageID 2802


 wore a body cam[,] and kept a list of people whom he thought had done him wrong." Id. He

 also "installed a surveillance system in his house and . . . boarded up [his] windows." .Id.

         Allen apparently did not pay Rollie or Petitioner with any ofthe proceeds from the

 diamond sale. Id. at 8. Petitioner expressed her "agitation over the nonpayment ofthe money

 [and her] anger over the sale of 'my diamond" in recorded phone calls with Roilie, who

 remained in prison.r 1d About a month before the murders, Petitioner and one of her

 codefendants-Nicodemes "Dan Dan" Sosa-were captured on Allen's surveillance equipment

 trying to tum offpower to his house. Id. at6.

         Later, Petitioner and three of her associates-Juan "Smokey" Castillo, Dan Dan Sosa,

 and Bobby Ruiz-went to rob Allen at his home. Things went awry, leaving Allen and another

 man, Jay Doyal, dead. "After the murders, the perpetrators forcibly removed the surveillance

 recording equipment and took it with them." /d Then, the four friends went their separate

 ways.

         Castillo tumed to a friend to "get something offhis chest," and told him about the

 robbery-gone-wrong. See id. at 7. He also talked to law enforcement ofticers. .Id. In both

 conversations, he "detailed the crime[,] . . . includ[ing] cenain details that the police had

 intentionally withheld from the public." Id. Castillo shared that he went to rob Allen with

 Bobby Ruiz, Dan Dan, and "Rollie's Desirae."2 Id. at 6-'1 . He explained that Petitioner

 knocked on the door while the others waited offto the side. When someone opened the door,

 "Bobby and Dan Dan rushed in with their pistols drawn, telling Allen that "a11 they wanted was

 his safe." Id. "[W]ords were exchanged," and things escalated. Id. Bobby hit Doyal in the


 I During these phone calls, Petitioner expressed that "people die for diamonds," sae Dkt. No. 15-20 at 84'
 and "I want my diamonds. Fuck him. That was bullshit. He would die over diamonds. I don't give a
 damn." Dkt. No. l5-20 at 9l-92.
 2
   Castillo identified a different woman-Desirae Reyna-as "Rollie's Desirae," but Ms' Reyna was
 incarcerated at the time ofthe murders. /d

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Case 5:20-cv-00086-H        Document 27        Filed 03/12/25      Page 5 of 37      PageID 2803


 head with his pistol and shot him in the chest. Dan Dan hit Allen in the head with his pistol.

 Allen told them to take the safe and leave, but when Allen tried to go toward a back room, Dan

 Dan shot him r,wice in the back. Id Castillo reported to both law enforcement and his friend

 that after the killings, they positioned Doyal's body and placed a meth pipe in his hand to

 "make it look like the victims were there smoking and'that somebody did a drive-by."' Id,

 Investigators tested a DNA sample from the meth pipe and "could not exclude [Petitioner] as a

 donor." Id. at 6.

        Meanwhile, Petitioner went to Alabama to visit family after the murders. Id. at7. The

 day before she was set to return, authorities in Texas obtained arrest warrants for all four

 suspects. /d. That evening, Petitioner canceled her flight home. Id Petitioner was ultimately

 arrested in Alabama and was held there on these charges for about a week. /d. at 2. While in

 Alabama, Petitioner was incarcerated on the same cellblock as Angie Brown. Id Brown says

 that Petitioner told her about the murders. /d. Brown told her attorney, futa Briles, what she

 leamed fiom Petitioner. Id. Briles ananged for Brown to meet with Texas Rangers. Id. Both

 Brown and Briles testified at Petitioner's t:ial. Id. Additionally, Briles typed Brown's statement,

 and it was admitted as an exhibit in Petitioner's tial. Id.

        Petitioner's habeas claims focus on Brown's testimony as a jailhouse informant.

        B.      Procedural History

        The Eleventh Court of Appeals affirmed Petitioner's conviction and sentence in an

 unpublished opinion. Dkt. No. 15-3. The Eleventh Court found that the trial coun erred in

 failing to insmrct the jury on the law requiring corroboration ofjailhouse-informant testimony.

 Id. at 4. But the court found the error harmless because, excluding Brown's testimony, the

 record contained enough other evidence connecting Petitioner to the murders that "the omission

 of the instruction on corroboration likely had a very minimal effect on the verdict." 1d. at 8


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Case 5:20-cv-00086-H         Document 27        Filed 03/12/25      Page 6 of 37       PageID 2804


 (intemal quotation marks and citation omitted). The TCCA refused Petitioner's petition for

 discretionary review (PDR). See Dkt. No. 15-12.

          Petitioner then filed a state habeas application with an unopposed motion to stay and

 hold the case in abeyance in the trial court for 90 days while Petitioner gathered transcripts and

 exhibits from the later trial of a codefendant. Dkt. No. 21-l at 1G20. The trial court granted

 the stay, id. at23, but the district clerk mistakenly transfened the case to the TCCA before the

 parties had completed their investigation and briefing in the trial court. SeeDkt. No. 15-34. So

 the TCCA found that the case was prematurely forwarded and remanded it "to allow the parties

 and the trial court to complete the proceedings, including an evidentiary investigation and the

 entry of findings of fact and conclusions of law if appropriate." Id.; see also Dlct. No. 15-29.

 Petitioner completed her investigation and f,rled her amended state habeas application on

 February 3, 2020. Dkt. No. 15-32 at 7. The trial court forwarded it, along with a supplemental

 record, to the TCCA on February 14,2020. Id Public records show that the writ was

 submitted to the TCCA for review on February 28, 2020.3 A couple of months later, on April

 15,2020, the TCCA denied Petitioner's amended habeas application without written order "on

 the findings ofthe trial court without a hearing and on the Court's independent review ofthe

 record." Dkt. No. 21-1 at28. It is undisputed that the trial court entered no fmdings or

 conclusions.

          Petitioner filed her first federal habeas petition in this Court on April 20, 2020. Dkl

 No. 1 . Then she returned to state court and f ed a suggestion that the TCCA reconsider its

 disposition of her state habeas application. Dkt. No. 15-30. On Petitioner's motion and before

 Respondent flrled an answer, this Court stayed Petitioner's federal habeas petition pending the

 resolution of her suggestion for reconsideration in the TCCA. Dkt. No. 7. Petitioner also filed



 3See https://search.txcourts.govlCase.aspx?cn=WR-90,058-01&coa=coscca         (last visited Feb. 12,
 202s).

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Case 5:20-cv-00086-H          Document 27          Filed 03/12/25        Page 7 of 37        PageID 2805


 a second state application for habeas relief. Dkt. No. 21-l at 32. The TCCA denied in part

 Petitioner's second habeas application and dismissed the rest as subsequent. Dk. No. 21-l at

 34; Dkt. No. 15-35. The same day, the TCCA denied Petitioner's suggestion for reconsideration

 ofthe denial ofher first habeas application. Dkt. No.21-lat30.

         Then Petitioner returned to this Court and filed a second habeas petition. ,Sea Dkt. No.

 5:21-CV-00198 at Dkt. No.       l. Respondent answered the second petition and provided relevant
 state-court records. Id. at Dkt. Nos. 6, 7. And Petitioner replied. Id. at Dkt. No. 11. The Court

 lifted the stay in the first federal habeas proceeding, consolidated the two petitions, and required

 amended briefinE. Id. arDkl No. l2; No. 5:20-CV-00086 at Dkt. No. 9. Respondent filed its

 amended answer with the required appendix in support. Dkt. No. 21. The state-court records

 submined in the later-filed habeas proceeding were copied into this case at Dkt. No. 15.

 Petitioner submitted her reply. Dkt. No. 26.

         Petitioner seeks federal habeas reliefbased on these gtounds:

         L She was convicted based on the testimony of a jailhouse informant who falsely
             testified that she was not expecting anything in exchange for her testimony;

         2. The state court failed to substantively review the facts underlying Petitioner's claims
             in violation of the Due Process Clause;

         3. The state court unreasonably rejected her ineffective-assistance-of-counsel claims
             despite trial counsel's uncontested admissions ofdeficient performance; and

         4. The state court denied her prosecutorial misconduct claims contrary to Brady v.
             Maryland,373 U.S. 83 (1963) and Kyles v. Whitley,54l U.S. 419 (1995), even though
             the prosecutor lied to defense counsel about the jailhouse informant's expectations of
             favorable treatment and misrepresented the informant's expectations to the jury.

 Dkt. Nos. 1, 10.4




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   Petitioner's grounds for reliefare essentially the same in both petitions, except that her second ground
 for relief-that the state habeas coun violated her right to due process----only appears in her second
 habeas petition. Dkt. No. 10.

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Case 5:20-cv-00086-H           Document 27       Filed 03/12/25      Page 8 of 37      PageID 2806


         Respondent argues that Petitioner's complaint about deficiencies in the state-court

 process (Ground Two) is not cognizable under Section 2254 and wges the Court to dismiss it

 with prejudice. Otherwise, Respondent contends that Petitioner's claims fail to overcome the

 deferential standard imposed by the Antiterrorism and Effective Death Penalty Act of 1996

 (AEDPA).

         In reply, Petitioner emphasizes her claims that the jailhouse informant lied-and that lie

 was endorsed by the prosecutor-in violation ofher constitutional rights and clearly established

 Supreme Court precedent. Dk. No. 26. She also acknowledges that, normally, defects in the

 state habeas process are not cognizable in a federal habeas proceeding, but she contends that this

 is not a normal case. She claims that the state habeas court's deviation from its standard

 procedures was so egregious that it deprived her of all process in violation of her constitutional

 rights. Id. Finally, she reiterates her claim that her trial counsel was ineffecive for failing to

 investigate an altemate suspect and failing to request a mandatory jury instruction on

 corroboration ofjailhouse informant testim ony. Id.

 2.      Legal Standard

         Section 2254 provides federal courts with a limited, but important opportunity to review

 a state prisoner's conviction and sentence. See Harrington v. Richter,562 U.S. 86, 103 (2011).

 This statute, as amended by AEDPA, creates a "highly deferential standard for evaluating state-

 court rulings, . . . which demands that state-court decisions be given the benefit ofthe doubt."

 Woodford v. Viscotti, 537 U.S. 19, 24 (2002) (per curiam) (intemal quotation marks omitted).

         The basic strucnlre ofthe federal habeas statute is "designed to confrm that state courts

 are the principal forum for asserting constitutional challenges to state convictions." Richter, 562

 U.S. at 103. Ftst, the statute requires that a habeas petitioner exhaust his claims in state court.

 28 U. S. C.   i 2254(b). If the state court dismisses the claim on procedural grounds, then the

                                                    8
Case 5:20-cv-00086-H        Document 27         Filed 03/12/25      Page 9 of 37       PageID 2807


 claim is barred from federal review unless the petitioner shows cause and prejudice. Richto,562

 U.S. at 103. And if the state court denies the claim on the merits, then AEDPA's relitigation

 bar applies. Lucio v. Lumpkin, 987 F.3d 451, 464.55 (5th Cn. 2021).

        Once a state court has rejected a claim on the merits, a federal court may grant reliefon

 that claim only if the state court's decision was (l) "contrary to, or involved an unreasonable

 application of, clearly established Federal law, as determined by the Supreme Court of the

 United States," or (2) was "based on an unreasonable determination ofthe facts in light of the

 evidence presented in the state court proce edng." 2S U.S.C.0 22SA@); Adekeyer. Davis,938

 F.3d 678, 682 (5th Ct. 2019). And "[t]he question under AEDPA is not whether a federal court

 believes the state court's determination was incorrect but whether that determination was

 unreasonable-a substantially higher threshold." Schrirov. Landrigan,550 U.S. 465,473 (2007).

        A state-coun decision is contrary to clearly established federal law if "it relies on legal

 rules that directly conflict with prior holdings of the Supreme Court or if it reaches a different

 conclusion than the Supreme Court on materially indistinguishable facts." Busby,359 F.3d at

 713. A decision constitutes an unreasonable application of clearly established federal law if "the

 state court identifies the correct goveming legal principle fiom [the Supreme] Court's decisions

 but unreasonably applies that principle to the facts ofthe prisoner's case." Williams v. Taylor,

 529 U. S. 362, 413 (2000); see also Pierre tt. Vannoy,891 F.3d 224, 227 (5th Cir. 2018) (explaining

 that a petitioner's lack of"supreme Court precedent to support" a ground for habeas relief

 "ends [his] case" as to that gound).

        "[A] state-coun factual determination is not unreasonable merely because the
 federal habeas court would have reached a different conclusion in the ftst'nstance." l|'ood v.

 Atlen,558 U.S. 290, 301 (2010). Federal habeas reliefis precluded even when the state court's

 factual determination is debatable. Id. at 303. State-court factual determinations are entitled to



                                                   9
Case 5:20-cv-00086-H        Document 27        Filed 03/12/25      Page 10 of 37       PageID 2808


 a "presumption ofcorrectness" that a petitioner may rebut only by clear and convincing

 evidence. 28 U.S.C. $ 2254(e)(1). This "deference extends not only to express findings offact,

 but to the implicit frndings of the state court." Ford v. Davis,9l0 F.3d 232,234-35 (5th Cir.

 2018).

          State courts need not provide reasons for their decisions, and even summary denials of

 reliefare entitled to substantial deference. Richter,562 U.S. at 100-01. Ofcourse, when the

 state high court "explains its decision on the merits in a reasoned opinion," then the federal

 court's review is straightforward-it "simply reviews the specific reasons given by the state court

 and defers to those reasons if they are reasonable." Wilsonv. Sellm,584U.S.l22, 125 (2018).

 But when reviewing a summary denial, "the federal coun should'look through'the unexplained

 decision to the last related state-court decision that does provide a relevant rationale." Id. If the

 lower court's rationale is reasonable, the federal court must "presume that the unexplained

 decision adopted the same reasoning." .rd This presumption may be rebutted, however, by

 evidence that the summary decision "relied or most lilely did rely on difierent grounds." Id. at

  125-26. And when the lower state court decision is unreasonable, then it is more likely that the

 state high court's single-word decision rests on alternative grounds. Id. atl32.

          However, when there is no reasoned state-court decision to look to, then courts "must

 determine what arguments or theories supported or, . . . could have supported, the state court's

 decision." See id, at 131; Wooten v. Lumpkin,l13 F.4th 560, 569 n.7 (5th Cir. 2024) (quoting

 Richter,562 U.S. at i02). Then, the court determines "whether it is possible fairminded jurists

 could disagree that those arguments or theories are inconsistent" with Supreme Court

 precedent. Richter,562 U.S. at 102. "As a condition for obtaining habeas corpus from a federal

 court, a state prisoner must show that the state court's ruling on the claim being presented in




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Case 5:20-cv-00086-H        Document 27        Filed 03/12/25       Page 11 of 37        PageID 2809


 federal court was so lacking in justifrcation that there was an error well understood and

 comprehended in existing law beyond any possibility for fairminded disagreement. " 1d.

         Moreover, "federal habeas reliefdoes not lie for errors ofstate law," and "it is not the

 province ofa federal habeas court to reexamine state-court determinations on state-law

 questions." Estelle v. McGuire,502 U.S. 62,67-68 (1991); We* v. Johnson,92 F.3d 1385, 1404

 (5th Cir. 1996). AEDPA "modified a federal habeas court's role in reviewing state prisoner

 applications in order to prevent federal habeas 'retrials' and to ensure that state court

 convictions are given effect to the extent possible under law." Bellv.Cone,535 U.S.685,693

 (2002). Federal habeas review is reserved only as a "guard against extreme malfunctions in the

 state criminai justice systems, not a substitute for ordinary error correction through appeal"

 Richter,562 U.S. at 102-03. This standard is intentionally "diffrcult to nr,eet." Id.

         Additionally, federal habeas review is limited "to the record that was before the state

 court that adjudicated the claim on the merits." Cullen v. Pinholster,563 U.S. 170, 181-82

 (201l).- In short, to overcome AEDPA's highly deferential, diffrcult standard, a petitioner "must

 show, based on the state-court record alone, that any argument or theory the state habeas court

 could have relied on to deny . . . relief was contrary to or an unreasonable application ofclearly

 established federal law as determined by the Supreme Co:urt." Evans v. Davis,875 F.3d210' 217

 (5th Cir. 2017).

         Finally, even if a petitioner satisfies the onerous requirements of AEDPA, a federal court

 cannot grant reliefunless the petitioner also proves that the state-court error was prejudicial.

 Brown v. Davenpon,596 U.S. 118 (2022). To do so, the petitioner must show that the eror was

 not harmless. In other words, the petitioner must establish that the state-court error had a

  "substantial and injurious effect or influence" on the verdict. Brecht v. Abrahamsor, 507 U.S.

  619, 622 (1993).



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Case 5:20-cv-00086-H          Document 27         Filed 03/12/25        Page 12 of 37       PageID 2810



 3.      Analysis

         The Court thoroughly examined Petitioner's pleadings, Respondent's answer, the

 relevant state court records, and the applicable law. The Court finds that an evidentiary hearing

 is not necessary to resolve the instant petition. See Young v. Herring,938F.2d 543,560 n.12 (5th

  Cir. l99l ) ("[A] petitioner need not receive an evidentiary hearing if it would not develop

 material facts relevant to the constitutionaliry of his conviction."). As explained below, the

 Court denies Petitioner's claims.

         A.       Petitioner's state-process slaim (Ground Two) is contradicted by the record
                  and is not cop.izable under Section 2254.

          Petitioner's second ground for relieffocuses on irregularities in the state habeas process.

 Petitioner contends that there was a complete breakdown in her state habeas process. She

 claims that, after the TCCA remanded the habeas application to the trial court, the trial court

 never forwarded the record or the case back to the TCCA. Dkt. No. 26 at 26 &n.l. Instead,

  she says that while "[t]he writ was still pending with the district court, . . . out of left field," the

 TCCA denied the application, even though il "was not even pending with the CCA." Id. at 26

 (emphasis original). Then, she emphasizes that the white-card, summary denial referred to the

 trial court's findings offact and conclusions of law, even though the trial court never made

  findings or conclusions.

          Petitioner then claims that the TCCA's decision on her successive writ was equally

 perplexing. She argues that, by denying some of her claims on the merits and dismissing others

  as subsequent, the TCCA is "trying to have its cake and eat it too, by acting as though the [fust]

  denial exists as to some issues but not as to others." 1d. at 28. She argues that ifthe first denial

 was a true ruling on the merits, then the TCCA should have dismissed her second writ in its

  enttety. And if it wasn't, then the TCCA should have rescinded the fust order and considered



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Case 5:20-cv-00086-H             Document 27        Filed 03/12/25        Page 13 of 37        PageID 2811


 all ofher claims anew. Id. Thus, she argues that throughout the process, the TCCA "departed

 Iiom its own procedures in an entirely unexpected, unpredictable, and indefensible way." Id.

           Petitioner faults Respondent for "wholly fail[ing] to acknowledge" the TCCA's

 procedural short-cfucuit. Id. at24-25,27. But Respondent does acknowledge that the TCCA's

 initial summary denial contains an error-that it refers to findings and conclusions that are not

 contained in the record. See DlI. No. 21 at 4 & n.2. Otherwise, Respondent lets the record

 speak for itself.

           Contrary to Petitioner's allegations, the records reflect that the trial court did forward the

 record to the TCCA.s SeeNo. 5:20-CV-00086 at Dkt. No. 15-32; 5:21-CV-00198 at Dkt. No. 6-

  32. The records show that Petitioner f ed her original state habeas application in the trial coun

 on May 28, 2019, along with a motion to stay the proceedings for 90 days while she continued

 to investigate and gather records and evidence fiom the recent trial ofone ofher codefendants.

 Dkt. No. 15-33 at 67. The trial court granted the motion, but the case was mistakenly

 forwarded to the TCCA before Petitioner flrled her amended application. Dkt. Nos. l5-33 at 1;

  15-34. The TCCA remanded the case to the trial court "to complete the proceedings," including

 directions that the trial court must resolve fact issues within 150 days (by January 21,2020) and

  forward the case back to the TCCA with a supplemental record within 180 days (by February

  18,2020). Dkt. No. 15-34.


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     The Court recognizes that a docketing error in this cause number likely contributed to Petitioner's
 confusion. The state-court record, comprised ofover 2,500 pages in 35 separate attachments, was
 originally flrled in Petitioner's second federal habeas case. SeaNo.5:21-cv-00l98atDkt.No.6. When
 the two cases were consolidated, the state-court record was copied into the lead case, No. 5:20-cv-00086
 at Dkt. No. 15. But attachment no. 32-the trial court's 69-page supplemental e-record in Petitioner's
 first state habeas writ, No. WR-90,058-01-was inadvertently omitted and replaced with a duplicate of
 attachment no, 3 t. Thatenorhasbeen corrected, and the panies were notiFred ofthe change. However,
 the Coun notes that Petitioner's counsel was also counsel of record in the second federal habeas case as
 well as in Petitioner's state habeas proceedings. Thus, the Court finds that counsel had access to the
 complete state-court record throughout this pending proceedrng and had personal, real-time knowledge of
  the state-court proceedings.


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Case 5:20-cv-00086-H         Document 27        Filed 03/12/25       Page 14 of 37       PageID 2812


         The trial court entered its certification that there were no controverted, unresolved

 material facts just days before the TCCA's deadline, and before Petitioner filed her promised

  amended application. Dkt. No. 15-32 at6. Petitioner did not file her amended state habeas

  application until three weeks later, on February 3, 2020. Dkt. No. 15-32 at 7. In response, the

  State filed its general denial on February 13,2020, Dkt. No. 15-25, and the supplemental record

  of the case was prepared and forwarded to the TCCA the same day. Sea Dkt. No. 15-32. The

 case was received by the TCCA just one business day before the deadline. Id. Two months

 later, the TCCA denied the application without written order "on the frndings ofthe uial court

 without a hearing and on the Court's independent review ofthe record." Dkt. No. 2l-1 at28.

 It is undisputed that the trial court entered no findings or conclusions.

         Although the TCCA's summary denial contains a mistake-referring to findings that the

 trial court never entered-the record contradicts Petitioner's assertion that the TCCA acted "out

 of left field" in a case that was never submitted to it. To the contrary, the record shows that the

 trial court forwarded the case and supplemental records according to the timeline imposed by

 the TCCA---even with Petitioner's last-minute, tardy amendment. The case was properly

  submitted to the TCCA, and its summary denial is entitled to substantial deference-despite the

 clerical error. See Richter,562 U.S. at 100-01.

         Likewise, there is nothing improper or unexpected about the TCCA's determination on

 Petitioner's subsequent state writ. The Texas Code of Criminal Procedure prohibits the state

 court from considering the merits of a subsequent habeas application unless the applicant

 establishes that the issues could not have been presented previously because the factual or legal

 basis for the claim was unavailable when the first habeas application was filed. Tex. Code

  Crim. P. art. 1 1.07 $ 4. Petitioner states that she frled her subsequent writ after obtaining

 previously sealed documents from the jailhouse informant's federal criminal proceedings

 showing that the informant received a sentence reduction based on her testimony against

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Case 5:20-cv-00086-H         Document 27         Filed 03/12/25        Page 15 of 37        PageID 2813


  Petitioner. Dkt. No. 26 at2l. She attached this newly discovered evidence to her second state

  writ. Id. And, although she re-urged some ofher other claims, it does not appear that she

  aftached any newly discovered evidence or argument related to those claims. The TCCA

  considered Petitioner's subsequent jailhouse informant claims based on her newly discovered

  evidence and denied them on the merits. Dkt. No. l5-35. But it dismissed her other claims,

  expressly finding that they didnot sadsry the requirements of art. 11.07$4. .I4 Thus, the state

  courl's order on Petitioner's subsequent writ was entirely consistent with its own procedure.

          The record reveals that the state habeas process here was far from the outrageous,

 extreme deprivation of process she describes. Indeed, the only irregularity shown in the record

  is the TCCA's clerical error in referring to the trial court's nonexistent frndings. But as argued

 by the respondent, it is well established that alleged errors in a state habeas proceeding do not

  state a claim for federai habeas corpus relief. Vail v. Procunier,747 F.2d277 (sth Cir. 1984). The

 Fifth Circuit has repeatedly confirmed that "an attack on the state habeas proceeding is an

  attack on a proceeding collateral to the detention and not the detention itself." Rudd v. Johnson,

 256 F.3d 317,320 (5th Cir. 2001) (collecting cases). Thus, Petitioner's state-court process claim

 (Ground Two) is contradicted by the record and, in any event, is not actionable under Section

  2254.

          B.     Petitioner failed to overcome AEDPA's relitigation bar with respect to her
                 jailhouse-informant claims (Grounds One and Four).

          Petitioner fairly presented her jailhouse-informant claims to the TCCA in her state

 habeas applications. The TCCA's summary denial of these claims was a decision on the merits6

 and is entitled to substantial deference. Richtn,562 U.S. at 100-01. The Court must fust



 6In Texas writ jurisprudence, a "denial" signifies that the state high court "addressed and rejected the
 merits ofa particular claim," but a "dismissal" means that the court "declined to consider the claim for
 reasons unrelated to the claim's meits." E)( parte Torres,943 S.w.2d 469, 472 (Tex. Crim. App. 1997);
 Baffientes v. Johnson,22l F.3d 741,780 (5th Cir. 2000).

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Case 5:20-cv-00086-H       Document 27        Filed 03/12/25       Page 16 of 37       PageID 2814


 determine what arguments or theories supported or could have supported the state court's

 decision, then determine whether it is possible fairmilded jurists could disagree that those

 arguments or theories conflict with Supreme Court precedent. Wilson,584 U.S. at 131; Richter,

 562 U.S. at 102.

                i.      Background

         Petitioner's fust and fourth grounds for relief revolve around Brown's testimony as a

 jailhouse informant. Before her trial, Petitioner's lawyer asked the Gaines County District

 Attomey, Michael Munk "whether he was going to do anything to help Brown out with her

 federal sentence in exchange for her testimony." Dkt. No. 15-24 at 68. But Munk "assured

  [him] that there was no deal or expectation ofa deal with Brown that he knew abont." Id.

         At Petitioner's trial, Brown testified that no one told her she would get "any kind of

 favorable deal" in exchange for her testimony. Dkt. No. I5-18 at 105. She admitted that after

 she was sentenced in her federal criminal case, she wrote a letter to Texas Ranger Brian Burney

 asking him to "keep his promise," but clarified that Munk had not made her any promises. Id.

 at 110. Additionally, Brown's attomey, Rita Briles, testified that nothing was "communicated

 to [Brown] that she would gain some advantage or lose something if she didn't make the

 statement." Dkt. No. 15-17 at 188. And Briles confrmed that, as far as she knew, Brown "was

 making this statement freely and of her own wr11." Id.

         In his closing argument, Munk recalled Brown's testimony. He questioned whether

  "Ms. Brown's testimony is less credible because possibly detectives might have suggested some

 kind ofdeal." Dkt. No. 15-20 at 89-90. But he stated, "I don't know anything about that. You

 heard her testifo. 'Not that man sitting right there,' . . . I didn't make her any deal." Id. He

 then asks "what difference does it make whether a deal was offeted?" Id. at90.




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Case 5:20-cv-00086-H         Document 27       Filed 03/12/25       Page 17 of 37      PageID 2815


         Petitioner's trial counsel avers that he later leamed ofa "handshake agreement between

  Munk and Brown for Munk to try to get Brown's sentence reduced in exchange for her

  testimony." Dkt. No. 15-24 at69. And, although there is no evidence of a formal deal,

  evidence discovered after Petitioner's trial strongly suggests that she hoped-or even expected-

  to get her federal sentence reduced in exchange for her statement to law enforcement and her

  testimony against Petitioner. After Petitioner's trial in 2015 and before her codefendant Bobby

  Ruiz's trial in 2018, Munk lost a bid for reelection and was replaced by a new District Attomey.

  At that point, several previously undisclosed letters surfaced.

         In late 2013, more than a year before Petitioner's trial, Briles sent a letter to Munk asking

  him to "[p]lease . . . forward a letter to [the] U.S. Attomey . . . and let him know that Ms.

  Brown's information was extremely helpful in the investigation and pending prosecution of the

  double homicide." Dkt. No. 15-24 at 51. She explains that the U.S. Attomey "would seriously

  consider filing a motion to have Ms. Brown's present sentence reduced." Id. Brrles also sent a

  letter to Brown, informing her that "the Texas Ranger were [sic] very favorable about helping"

  and that Briles would ask the Ranger to prepare a statement for the U.S. Attorney summarizing

  her assistance. Dkt. No. 15-24 at 49. Brown and Briles also exchanged other letters discussirg

  the sentence-reduction process. Then Brown personally wrote to Munk, explaining that she

  "was expecting the assistance that [she] gave to help reduce [her] federal sentence," and asking

  him to contact the U.S. Anomey on her behalf. Dkt. No. 15-24 at47.

         After Petitioner's trial, Munk wrote a letter on Brown's behalf to the U.S. Attomey. He

  described Brown's testimony as important and stated that "although Brown's was not the only

  testimony to implicate the four codefendants, . . . it corroborated many details of Juan Castillo's

  confession." Dkt. No. 15-24 at 61-62. He also gave his opinion that Brown's testimony

  "played a large role in the convictions of both [Petitioner] and Mr. Castillo." 1d Brown



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Case 5:20-cv-00086-H        Document 27        Filed 03/12/25       Page 18 of 37       PageID 2816


 ultimately received a 60-month sentence reduction based on her assistance in the investigation

 and prosecution ofPetitioner and her codefendants. Id. at63.

         After the letters were disclosed, Brown testified in the trial ofPetitioner's codefendant

 Bobby Ruiz. There, she admitted that she and her attorney were "trying to get a deal" for the

 information she provided against Petitioner. Dkt. No. 15-32 at 37 . She also agreed that her

 attomey wrote to Munl "trying to get some help for . . . Brown" and that she "want[ed] some

 consideration for the[] notes" she shared. Id. at 38-39. She testified that she felt entitled to

 something in retum for her testimony. Id. at 40. But she confirmed that Munk did not write her

 any letters back h 2013, impliedly because she "hadn't closedthe dea|." Id.

         Based on these facts, Petitioner argues that Munk wrongfully withheld the letters to

 conceal Brown's incentive to testiry, and he allowed Brown (and Briles) to lie to the jury about

 her incentivized testimony. Petitioner also argues that she would not have been convicted but

 for Brown's testimony, and the jury "would have ueated the testimony differently" had it

 known that "several years of freedom for Brown hung on her testimony. " Dkt. No. 26 at 20.

                 ii,    Relevant legal standards

         "The Due Process Clause of the Fourteenth Amendment forbids the govemment from

 knowingly using, or failing to correct, false testimony." United States v. Mason,293 F.3d 826,

  828 (5th C:8. 2002) (citng Giglio v. (Jnited States,405 U.S. 150 (1972) and Napue   t lllinois, 360
 U.S. 264 (1959). To establish a due-process violation, a petitioner must prove that (1) a witness

 testified falsely, (2) the govemment knew the testimony was false, and (3) the testimony was

 material. /d. Evidence may be considered false if it is misleading and important to the

 prosecution's case. Noblesv. Johnson,l27 F.3d409,415 (5th Cn. 1997) (citing Donnelly v'

 DeChristoforo, 41 6 U.S. 637,647 (1974). False testimony is material if there is "any reasonable




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Case 5:20-cv-00086-H         Document 27        Filed 03/12/25       Page 19 of 37       PageID 2817


  likelihood" that it "could . . . have affected the judgment of the jury. " Uvukansi v. Guerao, 126

  F.4th 382, 390 (5th Ct.2025) (quoting Giglio,405 U.S. at 154; Napue,360 U.S. at271).

         Prosecutors have a weil-established duty to disclose favorable evidence for purposes of

  ensuring a fair trial. Brady, 373 U.S. 83. It does not mafter whether the favorable evidence is

  exculpatory or impeaching. SeeUnitedStatesv. Bagley,473 U.S.667,676 (1985). "When the

  'reliability of a given witness may well be determinative of guilt or innocence,' nondisclosure of

  evidence affecting oedibility" requires a new trial. Giglio,405 U.S. at 153-54 (quoting Napue,

  360 U.S. at 269). But a new trial is not automatically requhed when prosecutors fail to disclose

  "evidence possibly useful to the defense but not likely to have changed the verdict. " 1d.

         A successful Brady claim must show three essential elements: (1) the evidence was

  favorable to the accused, (2) the evidence was withheld by the State, and (3) the withholding

  prejudiced the accused. Strickler v. Greene,527 U.S. 263, 281-82 (1999). To show prejudice, the

  evidence must be material. In other words, the nondisclosure must be "so serious that there is a

  reasonable probability that the suppressed evidence would have produced a different verdict."

  Id.; see also Banks v. Dretke,540 U.S. 668, 688 (2004) (explaining that, to satisry the materiality

  requirement, a petitioner must show a "reasonable probability of a different result").

         The materiality inquiry "is not a suffrciency of evidence test." Kyles e. lVhitley, 514U.5.

  419,434 (1995). "The question is not whether [Petitioner] would more likely than not have

  received a different verdict" if the letters were disclosed before trial, but whether she "received a

  fair trial . . . resulting in a verdict worthy of confidence." Id. Accordingly, a "'reasonable

 probability' ofa different result" can be shown if the withheld evidence "undermines confidence

  in the outcome of the tial." Id (citing Bagley, 473 U.S. at 678)).




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Case 5:20-cv-00086-H          Document 27       Filed 03/12/25       Page 20 of 37      PageID 2818


                 iii.    Discussion

                         a.      Falsity and Favorability

         Respondent argues that the state court reasonably rejected Petitioner's jailhouse-

  informant claims because Petitioner failed to show that Brown's testimony was false. But

 testimony, even "ifnot outright lies," may be considered false if it "conveyed [a] false

  impression" to the jury that the witness had no expectation ofleniency or other motivation for

 testirying. IJnited States v. Barham, 595 F .2d 231,24142 (sth Cn. 1979). And it does not matter

 whether the prosecutor consciously solicited the false or misleading testimony or simply failed

 to correct it. Id.

         Notably, Respondent does not dispute that the lemers berween Briles, Brown, and Munk

 were withheld from defense counsel. Nor do they dispute that the evidence was favorable.

  Indeed, evidence that a govemment witness is seeking a sentence reduction in exchange for

 testirying "provide[s] fertile grounds for impeachment." Uvukansi, 126 F.4th at 385.

  Respondent instead emphasizes that, even with the letters, "nothing shows that a deal was in

  fact in place with the Distdct Attorney's offrce at the time of [Petitioner's] trial." Dkt. No. 21 at

  13. But even in the absence ofa "flrm promise," the State is required to disclose evidence ofa

  witness's incentive to testiry. See Tassinv. Cain,5l7 F.3d770,778-80 (explaining that a

  witness's expectation ofpotential favors in exchange for testimony need not be a "firm promise"

  to triq;:er Brady, because "the cnrx of a Fourteenth Amendment violation is deception"); sea a/so

  Bagley,473 U.S. at 683 (explaining that the "possibility of a reward" gave witnesses "a direct,

  personal stake" in obtaining a conviction, and "[t]he fact that the stake was not guaranteed

  through a promise or binding contract, but was expressly contingent on the Govemment's

  satisfaction with the end result, served only to sffengthen any incentive to testiry falsely in order

  to secure a conviction").


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Case 5:20-cv-00086-H          Document 27      Filed 03/12/25      Page 21 of 37       PageID 2819



         Thus, assuming that Brown's testimony was false and that the undisclosed letters were

  favorable, the Court must consider whether the evidence was material-or whether a frnding

  that the evidence was immaterial could have reasonably supported the state court's decision.

                         b.      Materiality

         First, for Petitioner's false-testimony claim, the Court must determine whether there is

  "any reasonable likelihood" that the false or misleading testimony could have affected the

  judgment of the jury. Then, for Petitio ner's Brady claim, the Court must consider whether there

  is a reasonable probability that disclosure ofthe letters would have produced a different result.

  Ultimately, the Court must determine "whether it is possible fairminded jurists could disagree"

  that a fmding of immateriality conflicts with Supreme Court precedent. Rbhter,562 U.S. at 102

  Relief is not warranted unless the state court's conclusion was so wrong that there is no room

  for disagreement. Id

         Petitioner argues that Brown was the State's "star witness." Dkt. No. 26 at22. She

  contends that "[t]ruly, the only glue that held together the State's case against Petitioner was

  Brown," id. at 13, and that "Brown is the only person putthg [Petitioner] at the scene ofthe

  crime," id. at 20. Thus, she argues that Brown's false testimony and the State's withholding of

  "honibly damaging impeachment evidence" was clearly material. Id. at20,22.

         Of course, "false credibility testimony may be material ." Uvukansi, 126 F .4th at 391

  (citng Napue,360 U.S. at 269). But the fact that the false evidence only affects oedibility-

  rather than false inculpatory testimony-may be considered "as a factor in judging its

  materiality." Id. And nothing forbids courts from considering whether the force of the false

  testimony is "diminished by later testimony impeaching [the witness's] credibility." Id. Here,

  there was other testimony impeaching Brown's oedibility. First, Brown herself testified that

  before Petitioner's trial, she wrote a letter to Texas Ranger Bumey asking him to "keep his



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Case 5:20-cv-00086-H         Document 27         Filed 03/12/25        Page 22 of 37        PageID 2820


 promise," Dkt. No. 15-18 at 110. Indeed, in the letter referenced by Petitioner's counsel,

 Brown asked Ranger Bumey to "do what you agreed to do to help me."7 Dk. No. 15-24 at 48.

 The letter and the potential promise were mentioned again by both the prosecutor and

 Petitioner's counsel in closing arguments. Dkt. No. 15-20 at 60, 89-90.

         The defense also impeached Brown's testimony with the testimony of another Alabama

 jail inmate, Bella Cowan, who was housed on the same cellblock as Petitioner and Brown. Dlt.

 No. 15- 19 at 9-57. Brown testified that Bella "came in during the conversation" while

 Petitioner allegedly shared the details of the crime with Brown. Dkt. No. 15-18 at 100. But

 Bella testifred that Brown was lying-she never walked in on any conversation between

 Petitioner and Brown. Dkt. No. 15-19 at 14. Bella said that no such conversation would not

 have happened because she "warned" Petitioner about Brown when she came into the jarl. Id.

 at 14 & 46. Bel1a explained that Brown was known in the Alabama jail for "ear hustling"-that

 she was "very nosy," id. at 46, and "liked to try to find out things about your case," id at 1 1.

 She also described how Brown "would call her folk on the phone and she would ask them to

 google" to frnd out information about other inmate's cases. Id. at 14. Bella testified that if she

 had heard any ofthe information about Petitioner's case that Brown says she heard, she would

 have "gone to the authorities" to "get a deal." Id. at 24, 31 . So, Bella speculated that Brown

  "may have ear-hustled on some things that [Petitioner] and I talked about and concocted her

 own little version of events." Id. at49.

         Despite Petitioner's framing of the importance of Brown's testimony, the record does not

  depict her as the State's star witness. During the trial, Munk emphasized that "[t]here would




  Although Petitioner's counsel refened to the letter, and Brown conFrmed both that she wrote the lefter
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 and that she asked Burney to keep his promise, the letter was not admitted at Petitioner's trial. Sre Dkt.
 No. 15-18 at 116-17.


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Case 5:20-cv-00086-H       Document 27        Filed 03/12/25       Page 23 of 37         PageID 2821


 have been a case with or without Angie Brown's testimony." Dkt. No. 15-20 at 89. In his

 closing argument, he asked thejury to consider ali the evidence together. Id at 81-82. Munk

  also addressed Brown's credibility. He recognized that the defense was "trying to discredit Ms.

  Brown's testimony by saying it's a complete fabrication or she was ear-hustling or she heard

  about this in the Shelby County news." Id. at85. And he acknowledged the implication that

  "Brown's testimony is less credible because possibly detectives might have suggested a deal."

 Id. at89-90. Munk asked "what difference does it make whether a deal was offered?" He

  focused his argument on the consistent details across Brown's inculpatory testimony and other

  evidence in the record, including the statements ofPetitioner's codefendant and other witnesses.

         And although there is no reasoned state-court opinion addressing Petitioner's habeas

 claims, the opinion ofthe Eleventh Coun ofAppeals on Petitioner's dkect appeal also provides

  some helpful insight. Specifically, the appellate court found that even "excluding Brown's

 testimony, the evidence . . . tended to connect [Petitioner] to the murders." Dkt. No. 15-3 at 7.

 The court then summarized the other evidence:

                [W]hen we read the entire transcripts of the jail phone calls berween
                Rollie and Appellant, we find that there was a good bit of testimony
                that showed Appellant's agitation over the nonpayment of the
                money, in addition to anger over the sale of "my diamond. "
                Appellant lived with Allen for a time and would have been fami.liar
                with his paranoia, his safe, and his surveillance equipment.
                Appellant could not be excluded as a contributor of DNA to the
                meth pipe that was purposefully placed in Doyal's hands after he
                was dead. Appellant and Rollie had lived together and were the
                parents of a young boy. There was testimony that "Rollie's
                Desirae" was the fourth person involved in the killings and that she
                was the one to gain access to Allen's house on the date of the
                murders. The only other "Desirae" connected to Appellant was
                Desirae Reyna, and she was in jail on the date that the murders took
                place. Appellant had reservations to retum to Texas from Alabama
                the day after an arrest warrant was issued for her in Texas. After the
                Texas wanant was issued, Appellant canceled that retum flight.




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Case 5:20-cv-00086-H        Document 27        Filed 03/12/25      Page 24 of 37       PageID 2822



 /d Notably, the Eleventh Court underscored that they were not reviewing the record for
 suffrciency ofthe evidence. Id Rather, they were considering the effect, if any, of the omission

 of a jury instruction on corroboration of jailhouse-informant testimony. Ultimately, the

 appellate court found that "because ofthe corroborating evidence in the record," the failure to

 instnrct the jury on corroboration "likely had very minimal effect on the verdict. " Id. at 8.

        In light ofthe record, the state court could have reasonably determined that the false

 oedibiliry evidence was immaterial. The force of the false testimony is diminished by the

 introduction of other impeachment evidence. The jury heard other evidence suggesting that

 Brown was expecting help from the Texas Rangers. And it heard testimony that Brown was

 untrusfworthy-that she often searched for information about other inmates' cases to leverage.

 There was also other impeachment evidence-con$adicting her claim that Bella witnessed part

 of the conversation between Petitioner and Brown. And the TCCA could have reasonably

 determined, like the Eleventh Court of Appeals did, that even "excluding Brown's testimony,"

 the evidence . . . tended to connect [Petitioner] to the murders." Dkt. No. 15-3 at 7.

        After hearing the evidence, the jury could have determined that Brown was qedible

 despite the evidence of Brown's potential motive for testirying and other impeachment evidence

 because, as argued by Munk, the details in her statement were largely consistent with the other

 evidence in the case. Or the jury might have determined, based on the other impeachment

 evidence before them, that Brown was not credible but convicted Petitioner on the totality of

  other evidence connecing her to the murders. Either way, the TCCA could have reasonably

 concluded that, in light ofthe impeachment evidence introduced at trial, and the other evidence

 connecting Petitioner to the murders, there was no reasonable likelihood that the false testimony

 could have moved the needle enough to affect the judgment of the jury.




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Case 5:20-cv-00086-H       Document 27        Filed 03/12/25      Page 25 of 37      PageID 2823


        Likewise, the state court could have reasonably determined that the withheld letters were

 not material for purposes of Petitioner's Brady clarm. The suppressed letters show only that

 Brown was expecting or hoping for favorable ueatment. They do not establish that Munk made

 any promises, agreements, or even responded to Brown's requests. Brown's testimony may

 have been false even without a fum agreement in place, but the fact that her expectation was

 one-sided affects the weight of the evidence. As a whole, the letters show that Browa asked

 both the Texas Rangers and Munk to contact the U.S. Attomey on her behalf. And as discussed

 above, the jury heard about Brown's potential deal with the Texas Rangers. The fact that she

 also asked Munk for his help in seeking a sentence reduction does not tip the scale all that

 much. In light ofthe totaliry ofthe evidence, as discussed above, the TCCA could have

 reasonably determined that there is not a reasonable probability that the suppressed letters

 would have produced a different verdict. In other words, the content ofthe letters and their

 nondisclosure are not so egregious that they undermine confidence in the verdict.

        In sum, fairminded jurists could reasonably find that the evidence was immaterial

 without conflicting with established Supreme Court precedent. Richter,562 U.S. at 102. "lt

 bears repeating that even a sffong case for reliefdoes not mean the state court's contrary

 conclusion was unreasonable. " 1d. Petitioner has not pointed to any Supreme Court case

 reaching the opposite conclusion on a set of matedally indistinguishable facts, and the Court has

 found none.

        This case is distinguishable from Napue, where the State's star witness-a codefendant

 by the name of Hamer-falsely testified that nobody promised to help him get a sentence

 reduction ifhe testified. Napue,360 U.S. 264. In fact, the prosecutor had promised to

 recommend a sentence reduction for Hamer in exchange for his testimony. The Supreme Court

 described Hamer's testimony as "extremely impotant" because of the passage of time and the



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Case 5:20-cv-00086-H         Document 27        Filed 03/12/25      Page 26 of 37       PageID 2824


  unavailability ofother witnesses. So, the evidence against Napue "consisted largely" of

  Hamer's testimony. Hamer admitted that a public defender had offered to do what he could to

  help, but the Supreme Court found that this insignificant admission did not render his false

 testimony immaterial-had the jury known that the prosecutor had cut a deal with him, it

 would have "put the testimony in a substantially different light. " .9ee Uvukansi, 126 F .4th at 391

 (discussing Napre).

         Here, il contrast, multiple facts lead the Court to the opposite conclusion. First,

  Brown's testimony was not the sole-or even the primary-evidence connecting Petitioner to

 the crime. Brown's statement was corroborated by statements of Petitioner's codefendant, Juan

  Castillo, and supported by physical evidence at the scene, including her DNA on the meth pipe

  intentionally positioned in one of the victims' hands after the killings. Moreover, her recorded

 phone calls provided motive and context, and her preliminary attempt to disable the victim's

 cameras with Dan Dan aiso connect her to the crime. Additionally, the false evidence is

  substantially less forceful here. The undisclosed letters establish only that Brown asked the

  prosecutor to help her get a sentence reduction-not that he had agreed to do so. And the jury

  heard evidence suggesting that other agents of the State-the Texas Rangers-had promised to

  help her. Finally, there was other impeachment evidence, including the testimony of a different

  inmate that conhadicted parts of Brown's statement and described her reputation for "ear

  hustling" to try to get a deal for herself. Given that Brown's testimony was less important to the

  State's overall case against Petitioner, and her false testimony less forceful than that rn Napue,

  the Court cannot fault the state court for reaching a different conclusion.

         Newer case law also supports the Court's analysis. The Supreme Court recently granted

  habeas relief based on egregious-and admitted-violations of Napue and Brady. Glossip v.

  Oklahoma,604 U.S.                            (Feb. 25,2025). There, the State withheld eight
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Case 5:20-cv-00086-H        Document 27        Filed 03/12/25      Page 27 of 37        PageID 2825



 boxes of evidence showing that its primary witness suffered from bipolar disorder, for which he

 was prescribed lithium. The State then failed to correct the witness's false trial testimony that he

 had never seen a psychiatrist and had been inadvertently given lithium instead ofcold medicine.

 Because the witness's testimony was the only direct evidence of the Glossip's guilt, the jury's

 assessment of his oedibility was "necessarily determinative"-"no other witness and no

 physical evidence established" Glossip's guilt. Moreover, the undisclosed evidence directly

 undermined other components ofthe State's case, including its repeated theory that the witness

 was harmless on his own and only participated in the killing at Glossip's direction.

         Again, Petitioner's case is easily distinguishable from the egregious, material, and

 admitted violations described n Glossip. Brown did not supply the only evidence ofPetitioner's

 guilt. As the Eleventh Court found, even excluding Brown's testimony, there was ample other

 evidence in the record connecting Petitioner to the murders. As a result, the jury's

 determination of Petitioner's guilt did not depend on Brown's oedibility.

         Finally, although not determinative here, the Court finds recent new Fifth Circuit cases

  instructive. Last week, a split panel ofthe Fifth Circuit granted habeas relief in a capital murder

 case after finding that the State "failed to disclose impeachment evidence that its oitical ffial

 witness was a paid informant." Holberg v. Guerero, No. 21-10010, slip op. at 1 (5th Cir. Mar. 7,

 2025). In that case, it was undisputed that Holberg killed the victim-the only issue was

 whether she killed him in self-defense or whether she kilied him callously while robbing him.

 Id. The informant's testimony was the State's only testimonial account of the violent encounter

  and the only evidence suggesting that Holberg "took pleasure in the gruesome act.     " It also
 reinforced the State's robbery theory-that Holberg killed the victim to get his money and to get

  drugs. The informant's testimony provided the primary basis for the penalry-phase finding of

  furure dangerousness required to impose the death penalry. In short, Holberg's trial hinged on



                                                  27
Case 5:20-cv-00086-H        Document 27        Filed 03/12/25       Page 28 of 37      PageID 2826


 the informant's oedibility, and without the suppressed evidence, the defense had nothing with

 which to impeach her. The majority concluded that, on the record ofthat case, and in light of

 the informant's role as a key witness who supplied direct evidence of the robbery element of the

 capital murder offense, "there is no sound theory . . . to suppon the conclusion that [the

 suppressed evidencel did not reasonably affect Holberg's trial."

         Once again, Petitioner's case is immediately distinguishable because Brown's testimony

 was corroborated by a range ofother evidence in the record-she did not provide the sole basis

 for any element of Petitioner's conviction. She was not the State's key witness. And the jury

 heard other evidence diminishing Brown's credibility, including evidence of her potential

 motivation for testiSing. The facts in Petitioner's case are nowhere near as extreme as those

 depicted in Holberg, and the testimony of the informant was not nearly as important.

          In another capital murder case, Uvukansi, 126F.4rh 382, the sole identification witness

  falsely testified that he had no agreement with ptosecutors regarding his testimony, when in

  fact, he did have an agreement. There, the Fifth Circuit found that the witness's testimony was

  "[u]ndoubtedly . . . critical to the State's case." Id. at 385. But because the jury heard about

 parts ofthe agreement from another witness, the state court was not unreasonable in concluding

 that the false evidence was immaterial. Here, similarly, a finding of immaterialiry reasonably

 supports the state court's rejection of Petitioner's claims because the jury heard other evidence

  suggesting that Brown hoped to get a deal from her testimony.

         These cases underscore the balance between "the necessity ofensuring fair andjust

  trials," Weaver v. Mass.,582 U.S. 286, 305 (2017), and the "principles of comity, finality, and

  federalism" that prevent federal courts from disrupting state-cout judgments except in the most

 egregious cases. ,See []vukansi, 126 F.4th at 392. This is not such an extreme case. It is not

  "'beyond the realm of possibility that a fairminded jurist could' agtee with the state court."



                                                   28
Case 5:20-cv-00086-H         Document 27        Filed 03/12/25      Page 29 of 37       PageID 2827


 Longleyv. Prince,926 F.3d 145, 156 (sth Cir. 2019) (quoting Woodsv. Ethmon, 578 U.S. 113, 117

 (2016)). The state court could have reasonably determined that Petitioner received a fair trial,

 resulting in a verdict worthy ofconfidence.

         Stated differently, the TCCA's summary denial of Petitioner's false-evidence and

 withheld-evidence claims was not "so lacking in justification that there was an error well

  understood and comprehended in existing law beyond any possibility for fairminded

  disagreement.   " /d It is possible that fairminded jurists could disagree about whether the
  evidence was material. But under Section 2254, the Court cannot disturb a state-court judgment

  ifthere is any room for disagreement. In other words, because it is debatable, relief under

  Sect.ion 2254 is precluded. Richter,562 U.S. at 103. As a result, Petitioner is not entitled to

  habeas relief on these grounds.

         C.       Petitioner failed to overcome the doubly deferential AEDPA standard on her
                  ineffective-assistance-of-couasel (IAC) claims.

         Finally, in her thtd ground for reliel Petitioner argues that her trial attomey was

  constitutionally ineffective because he failed to (1) investigate a viable altemative suspect, and

  (2) request a mandatory jury instruoion.

         The well-known standard applicable to IAC claims is set out in Strickland v. Washington,

 466U.S.668,689 (1984). Under the two-pronged Strickland test, a petitioner must show that

  counsel's performance was both deficient and prejudicial. Id. at 687 . An attomey's

  performance was deficient if the attorney made errors so serious that the attomey was not

  functioning as the "counsel" guaranteed the defendant by the Sixth Amendment. Id. That is,

  counsel's performance must have fallen below the standards ofreasonably competent

  representation as determined by the norms of the profession.

         A reviewing court's scnrtiny oftrial counsel's performance is highly deferential, with a

  strong presumption that counsel's performance falls within the wide range of reasonable

                                                   29
Case 5:20-cv-00086-H        Document 27        Filed 03/12/25       Page 30 of 37       PageID 2828


 professional assistance. Id. at 689. A strong presumption exists "that trial counsel rendered

  adequate assistance and that the challenged conduct was reasoned trial strategy.    " Ililkmon v.
  Collins,950 F.2d 1054, 1065 (5th Cir. 1992)(citingSt/ickland,466U.S. at694).

         Additionally, a petitioner must show that counsel's deficient performance prejudiced the

  defense. To establish this prong, a petitioner must show that counsei's erors were so serious as

 to deprive petitioner of a fair trial. Strickland,466 U.S. at 687. Speci-fically, a petitioner must

  show "(1) there is a reasonable probability that, but for counsel's unprofessional errors, the

  ultimate result ofthe proceeding would have been different. . . and (2) counsel's deficient

  performance rendered the trial fundamentally unfair." Creelr Johnson, 162 F.3d385,395 (5th

  Cir. 1998). "Unreliability or unfairness does not result ifthe ineffectiveness ofcounsel does not

  deprive the defendant ofany substantive or procedural right to which the law entitles him."

  Lockhart v. Frerwell,506 U.S. 364, 372 (1993). This is a heavy burden that requires a

  "substantial," and notjust a "conceivable," likelihood ofa different res'uJt. Richter,562 U.S. at

  ll2; see also Pinhokto,563 U.S. at 189.

         In the context ofSection 2254(d), the deferential standard that must be given to counsel's

  representation must also be considered in tandem with the deference that must be given to state-

  court decisions, which has been called "doubly" deferential. Richter,562 U.S. at 105. "When $

  2254(d) applies, the question is not whether counsel's actions were reasonable. The question is

  whether there is any reasonable argument that counsel satisfied St/ickland s deferential

  standard. " Id. Additionally, if a petitioner fails to show either the deficiency or prejudice prong

  of the Snickland test, then the Court need not consider the other prong. Strickland,466 U.S. at

  697.




                                                   30
Case 5:20-cv-00086-H          Document 27          Filed 03/12/25        Page 31 of 37        PageID 2829


                 i.       Alternative suspect

         First, Petitioner claims that her counsel was ineffective when he failed to investigate an

 alternative suspect. Dkt. No. 26 at 30-32. She points to the affrdavit prepared by Petitioner's

 trial counsel. In it, counsel asserts that in his initial meeting with Petitioner, she told him that

 the night of the murders, or early the next moming, her codefendant Nicodemes Sosa (Dan

 Dan) came to her house with another man, and the two men argued over something. Dkt. No.

  15-24 at 66. Petitioner also asserts that her counsel received discovery including DNA reports

 from various items found at the crime scene. Dkt. No. 26 at 31. She claims that one of those

 reports named Jerry Castillo8 as a contributor to DNA found on a lighter at the victim's house.

 Petitioner contends that gial counsel should have connected the dots and investigated whether

 Jerry Castillo is the man who argued with Sosa at Petitioner's house.

         She explains that Petitioner's codefendant Bobby Ruiz's trial team did just that. Ruiz

 hired an investigator, who found Jerry Castillo and talked to him. Ruiz also requested more

 DNA testing, which confirmed that Jerry's DNA was on multiple items at the crime scene.

 Ruiz's uial team developed a theory that Dan Dan and Jerry committed the murders, and

 Petitioner, Ruiz, and Juan Castillo were not there. .!ee Dkt. No. 15-24 at76-78. Petitioner

 claims that ifher trial counsel had investigated like Ruiz's attorneys did, she would have been

 able to offer the jury a viable altemative story to undermine the State's narative. She argues

 that counsel's failure to investigate was deficient and that the outcome ofher trial would have

 been different absent counsel's failure to investigate.

         The Supreme Court has recognized that "counsel has a duty to make reasonable

 investigations or to make a reasonable decision that makes particular investigations



 8It appears that Jerry Castrllo is not related to Petitioner's codefendant, Juan Castillo. Sea Dkt. No. 15-
 24 at 75.


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Case 5:20-cv-00086-H           Document 27          Filed 03/12/25         Page 32 of 37      PageID 2830


 unnecessary." St/ickland,466 U.S. at 691. But the reasonableness ofcounsel's investigation

 decisions depends substantially on the information provided by the defendant. Id. 'Defense

 counsel is not required 'to investigate everyone whose name happens to be mentioned by the

 defendant."' Schwander v. Blackbum,750 F.2d 494,500 (5th Ct. 1985) (quoting United States v.

  Cockrett, 720 F.2d 1423, 1428 (5th Cn. 1983).

          Petitioner has not shown that the TCCA's rejection of this claim was unreasonable.

 Here, trial counsel represented that Petitioner gave him very little information about the mystery

 man who came to her house and argued with Sosa. Dkt. No. 15-24 at66. Not only did

 Petitioner not know the identity ofthe other man, but she reportedly did not know any details

 about the men's argument. /d Petitioner's counsel explains that he learned of the

 codefendant's mysterious argument with the unknown man during his initial meeting with

 Petitioner, early in the case. Id. And, at the time, he knew that the police were looking into a

 different suspect, Thomas May, who was later ruled out. 1d. With so little information to go

 on, it is unsurprising that counsel opted to chase down other leads instead.e

          Nor is it unreasonable that counsel allegedly failed to follow up on a DNA report

 identi$ing Jerry Castillo as a possible contributor to DNA found in the victim's house. As

 detailed above, this case centers on a subculture of drug users and criminals in Seminole, Texas.

 Petitioner's DNA was found on the meth pipe placed in one of the victim's hands. Her

 codefendant Bobby Ruiz's DNA was found on a lighter, along with the DNA of three other

 individuals.r0 The presence of DNA from other known criminals or drug users on drug

 paraphernalia found at the victim's house was not surprising.


 e
  For example, trial counsel investigated to identiff the other inmate mentioned in Brown's statement-
 and her testimony at trial helped impeach Brown's otherwise damaging statement. Ser Dkt. No. l5-20
 at 73-74.

  t0 See Ruiz v. Srarr, No. I l - 18-00267-CR, 631 S.W.3d 841
                                                                , 848 (Tex.App.-Eastland, 2021)


                                                        32
Case 5:20-cv-00086-H          Document 27      Filed 03/12/25      Page 33 of 37       PageID 2831


          Finally, the Court is mindful of the Supreme Court's dhective that "a fair assessment of

 attomey performance requires that every effort be made to eliminate the distorting effects of

 hindsight, to reconstruct the ckcumstances ofcounsel's challenged conduct, and to evaluate the

 conduct from counsel's perspective at the time." Strickland,466 U.S. at 669. The affrdavit of

 Ruiz's investigator makes clear that he zeroed in on Jerry Castillo based on information leamed

 after Petitioner's trial, not from any DNA report provided in discovery or from any vague

 mention of a mysterious argument with an unknown man. Dkt. No. 15-24 ai74. lrctead,

 Ruiz's investigator had something that Petitioner's afforney did not-the statement of

 Nicodemes Sosa (Dan Dan), given to his attorneys after he pled guilty in the double homicide.

 But that statement did not exist when Petitioner's attomey was preparing for her trial. Counsel

 need not be clairvoyant to be effective. Based on the scant information available to Petitioner's

 counsel during his investigation ofher case, his failure to identi$ and investigate Jerry Castillo

 as an alternative suspect was not constitutionally def,rcient.

                 ii.    Jury instruction

          Second, Petitioner claims that her counsel was ineffective for failing to request a jury

 instruction on corroboration ofjailhouse-informant testimony. Texas law requLes that

 jailhouse-informant testimony be corroborated by other evidence connecting the defendant with

 the offense committed. Dkt. No. 25-3 at34 (citing Tex. Code Crim. P. art. 38.075). The

 Eleventh Court ofAppeals determined that the trial court erred by failing to instruct the jury in

  accordance with this law.   Id Likewise, the Court assumes that counsel's failure to request the
 mandatory instruction was deficient. Counsel admits as much in his affidavit. Dkt. No. 15-24

  at7l.
          But Petitioner cannot show that she was prejudiced by counsel's failure. As explained

 by the Eleventh Court ofAppeals, because there was plenty of corroborating evidence, "the



                                                   33
Case 5:20-cv-00086-H          Document 27        Filed 03/12/25       Page 34 of 37       PageID 2832


 omission of the instruction on co[oboration 'likely had a very minimal effect' on the verdict.

 The omission . . . did not affect the very basis of this case, deprive [Petitioner] ofa valuable

 right, or vitally affect a defensive theory." Dkt. No. 15-3 at 8 (intemal citation omitted). For

 the same reason, the state court could have reasonably determined that Petitioner was not

 prejudiced by counsel's failure to request the instruction.

           In sum, there are reasonable arguments to support a finding that counsel satisf,ied

 Strickland's requhements. Giving appropriate deference both to counsel's performance and the

 state court'decision, the Court concludes that Petitioner is not entitled to reliefon her IAC

 claims.

           D.     Petitioner has not overcome Brecfrr's harmless-eror standard.

           On top of analyzing a petitioner's claims under the difficult, deferential AEDPA

 standard, "where Brecht is implicated a federal court must also ensure a habeas petitioner has

 carried his burden under its terms." Brown,596 U.S. at 127 (2022).tt A1l of Petitioner's

 substantive habeas claims requied the Court to determine the effect, if any, ofthe alleged errors

 on the jury's verdict. Petltioner has failed to identi$ any enor that had a substantial and

 injurious effect on the outcome. Indeed, Petitioner relies considerably on evidence discovered

 by her codefendant, Bobby Ruiz's attomeys. The record establishes that Petitioner and Ruiz's

  defenses were aligned-under any theory presented, either they both participated in the

 murders, or neither of them was present. Dkt. No. 15-24 at70; see also Rur, 631 S.W.3d 841.

           Petitioner even asks the Court to take judicial notice ofthe transcript of Ruiz's trial.

 Dkt. No. 26 at3l. But although Petitioner cites Ruiz's transcript, she did not provide a full


 r1 Harmless-error analysis under Brecir is unnecessary where the more demanding "reasonable

 probabiliry" standard applies, such as with Brady claims and IAC claims under Stickland. Kyles, 514 U .5.
 at 435-36. But it may be appropriate to condtct a Brecht review of claims analyzed under the "reasonable
 likelihood" standard for materiality . See Baffientos v. Johnson, 221 F .3d 741, 756-57 (5th Cir. 2000).
 Because the Coun analyzed P etitioner's Napue and Giglio clatm under the reasonable-likelihood standard,
 it now discusses Brecht outof an abundance ofcaution.

                                                    34
Case 5:20-cv-00086-H              Document 27          Filed 03/12/25        Page 35 of 37         PageID 2833


  copy of the transoipt to the Court. The record here contains only a few short excerpts from

  Ruiz's trial transcript, which were included with Petitioner's state habeas application. Under

  Federal Rule ofEvidence 201, "[t]he court . . . must take judicial notice ifa party requests it and

 the court is supplied with the necessary information. " Petitioner has not supplied the Court

 with the necessary information here, so the Coun must deny her request for judicial notice of

 Ruiz's trial transoipt. The Court can, however, judicially notice "fao[s] . . . not subject to

 reasonable dispute because [they] . . . can be accurately and readily determined from sources

 whose accuracy cannot reasonably be questioned." Fed. R. Evid.20l(b)(2). Accordingly, the

  Court takes judicial notice of the Eleventh Court ofAppeals' published opinion on Ruiz's direct

  appeal. Ruizt..Stara, No. t 1-18-00267-CR, 631 S.W.3d 841 (Tex.App.-Eastland, 2021).

             Ruiz's attomeys had the letters between Brown, Briles, and Munk. They questioned

  Brown at length about the letters. Dkt. No. 15-32 ar3740. And Brown admitted during Ruiz's

 trial that she was "stil1 trying to get a deal for what [she] sent them in on Dez Mata." Dkt. No.

  15-32 at 37 . Ruiz's trial team also found Jerry Castillo and talked with him, developing a theory

  that he and Sosa committed the murders without any participation from Ruiz, Petitioner, or

  Juan Castillo.12 But like Petitioner, Ruiz was convicted by a jury oftwo counts ofcapital

  murder and sentenced to life without the possibility of parole. Ruiz,631 S.W.3d at 847.

  Petitioner essentially argues that her trial was unfair because Brown testified falsely, she didn't

  have the letters between Brown, Briles, and Munk to impeach Brown's testimony, and her

  counsel failed to find and interview Jerry Castillo. So she asks to be granted a new trial, with




  r2
       Ultimately, Jerry exercised his right against self-incrimination and refused to testiry in Ruiz's tnal
  Ruiz, 631 S.W.3d at 857-58. Although Ruiz's investigator testified, the rial court excluded the
  substance of Jerry's statement to Ruiz's investigator as hearsay. /d


                                                          35
Case 5:20-cv-00086-H          Document 27         Filed 03/12/25        Page 36 of 37        PageID 2834


 access to aU the information that Ruiz's attorneys had.rr But even without the alleged Brady,

 Napue, and Strickland violations, Ruiz ended up with the same outcome as Petitioner. For these

 reasons, and those explained above, Petitioner has failed to show that any these alleged errors

 had a substantial or injurious effect on the jury's verdict in her case.

 4,       Conclusion

          In sum, Petitioner's state-process claims are contradicted by the record and, in any event,

  not cognizable under Section 2254. As to the remainder of her claims, Petitioner has failed to

  show that the state-couft's adjudication resulted in a decision conffary to clearly established

  federal law or resulted in a decision based on an urueasonable determination ofthe facts in light

  ofthe evidence presented in the state court proceedings. 28 U.S.C. S 2254(d). Petitioner has

  also failed to identiff any error that had a substantial and injurious effect on the verdr9' Brecht,

  507 U.S. at 622. For these reasons, the Court denies the petition and dismisses this civil action

  with prejudice.

          The Court recognizes that fairminded jurists could find this Court's assessment of

  materiality, as it relates to Petitioner's claims under Brady, Napue, ard Giglio, debatable or

  wrong. Thus, the Court grants Petitioner a certificate of appealability on these claims, (Grounds

  One and Four), under Rule 22 of the Federal Rules of Appellate Procedure and 28 U.S.C.

  $ 2253(c). The Coun denies Petitioner a cefiificate of appealability on her other claims because

  she has failed to show that reasonable jurists would (1) f,rnd this Court's "assessment ofthe

  constitutional claims debatable or wrong," or (2) fhd "it debatable whether the petition states a

  valid claim ofthe denial of a constitutional right" and "debatable whether [this Court] was

  correct in its procedural ruling." Slackv. McDaniel,529 U.S. 473,484(2000).



  13
    Ruiz's trial team also argued for the conoboration instruction, but the state court determined that the
  instruction did not apply to Brown's testimony in Ruiz's case because he was not the one who made a
  statement against interest to her rn the jail facrliry. Ruk,631 S.W.3dat854.

                                                      36
Case 5:20-cv-00086-H     Document 27       Filed 03/12/25       Page 37 of 37       PageID 2835


        So ordered.

       The Court will enter judgrnent accordingly.

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                                                                   A^
                                                         S WESLEY               RIX
                                                     U      States District Judge




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